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FILED IN OPEN COURT
JACKSONVILLE, FLORIDA

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA /2:15*LOLZB
JACKSONVILLE DIVISION se eT OU
UNITED STATES OF AMERICA MIDDLE DISTRICT OF FLORIDA
7 CASE NO. 3:23-cr-122- MMH-MCR
NEAL BRU SIDHWANEY

NOTICE OF MAXIMUM PENALTIES, ELEMENTS OF OFFENSE,
PERSONALIZATION OF ELEMENTS AND FACTUAL BASIS

The United States of America, by Roger B. Handberg, United States Attorney
for the Middle District of Florida, hereby files this Notice of Maximum Penalties,
Elements of Offense, Personalization of Elements and Factual Basis, stating as

follows:

ESSENTIAL ELEMENTS

The essential elements of a violation of 18 U.S.C. § 875(c), Interstate
Communication Containing a Threat to Injure, are as follows:
First: The Defendant knowingly sent a message in interstate commerce
containing a true threat to injure the person of another; and
Second: the Defendant sent the message with the intent to communicate a
true threat or with recklessness as to whether it would be viewed

as a true threat.!

1 The second element has been tailored from the Eleventh Circuit Pattern Jury Instruction to account for
the United States Supreme Court’s opinion in Counterman v. Colorado, 600 U.S. 66 (2023), setting the
subjective mens rea standard at recklessness.
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PENALTY

Count One carries a maximum sentence of five years’ imprisonment, a fine of
$250,000, or both imprisonment and fine, a term of supervised release of three years,
and a mandatory special assessment of $100 due on the date of sentencing. A
violation of the terms and conditions of supervised release carries a maximum
sentence two years’ imprisonment, as well as the possibility of an additional term of
supervised release.

Additionally, the defendant must forfeit property, pursuant to 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c), as outlined in the Indictment.

FACTUAL BASIS
On July 31, 2023, in the Middle District of Florida, the defendant, Neal Brij
Sidhwaney placed a telephone call to Victim 1’s workplace, located in Washington,
D.C., and left a threatening voice message with the intent to communicate a true
threat of violence. Specifically, the defendant stated, among other things, “Yeah hi,

my name is Neal Sidhwaney uh this message is for [Victim 1] . . . I will fucking kill
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you... Go fucking tell the Deputy U.S. Marshals you fucking pussy. I will fucking
talk to them and then I'll fucking come kill you anyways you fucking cunt.”
Respectfully submitted,

ROGER B. HANDBERG
United States Attorney

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/s/ Kirwinn ao

KIRWINN MIKE *

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